AO 442 (Rev. 11/11) Arest Warrant

UNITED STATES DISTRICT COURT [,p 1/532 358

for the
Middle District of North Carolina
United States of America MARL72
v. ) 023
CARLISA RENEA ALLEN ) Case No. 1:23MJ132-1
) Grea proce”
)
)
)
Defendant
ARREST WARRANT

To; Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

{name of person to be arresied) _Carlisa Renes Allen ,
who is accused of an offense or violation based on the following document filed with the court:

O} Indictment © Superseding Indictment © Information © Superseding Information 6 Complaint
©} Probation Violation Petition © Supervised Release Violation Petition | Violation Notice O Order of the Court

This offense is briefly described as follows:

Distribution of Cocaine Hydrochloride in violation of Title 21, United States Code, Section 841(a){1)
Conspiracy to Distribute Cocaine Hydrochioride in violation of Title 21, United States Code, Section 846
Uniawful Use of a Communication Facility in violation of Title 21, United States Code, Section 843(b)

Que Niebat=

Date: 03/15/2023 2:06 pm

Nissuing officer's signature
City and state: _ Durham, North Carolina _ Joe L. Webster, United States Magistrate Judge
Prinied name and title

Return

This warrant was received on (date) 2°16 “25 , and the person was arrested on (date) $-15- Zs
at (city andsiatey) Dor ram, NC .

RECEIVED
Date: “97/5 “2 , C se
MAR 16 2023 es aenre
—Cloreme Sproams, Special A 2.
US Marshals Sers ice. M NC \Pradll name and tuid g

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